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 7
                                 UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
      KIMBERLY BERNARD, Derivatively on Behalf
10    of MARATHON DIGITAL HOLDINGS, INC.                 Case No.:
      (f/k/a MARATHON PATENT GROUP, INC.),
11
                           Plaintiff,
12                                                       VERIFIED SHAREHOLDER
              v.                                         DERIVATIVE COMPLAINT
13
14    FRED THEIL, GEORGES ANTOUN, KEVIN
      DENUCCIO, SARITA JAMES, JAY LEUPP,
15    SAID OUISSAL, MERRICK D. OKAMOTO,
      and SIMEON SALZMAN,
16
                           Defendants,
17
      -and-
18
      MARATHON DIGITAL HOLDINGS, INC. (f/k/a
19    MARATHON PATENT GROUP, INC.),
20                         Nominal Defendant.
21
22            Plaintiff Kimberly Bernard (“Plaintiff”), by and through her undersigned counsel,

23   derivatively on behalf of Nominal Defendant Marathon Digital Holdings, Inc. (f/k/a Marathon

24   Patent Group, Inc.) (“Marathon” or the “Company”), submits this Verified Shareholder Derivative

25   Complaint (the “Complaint”). Plaintiff’s allegations are based upon her personal knowledge as to

26   herself and her own acts, and upon information and belief, developed from the investigation and

27   analysis by Plaintiff’s counsel, including a review of publicly available information, including

28   filings by Marathon with the U.S. Securities and Exchange Commission (“SEC”), press releases,



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 1   news reports, analyst reports, investor conference transcripts, publicly available filings in lawsuits,
 2   and matters of public record.
 3                                      NATURE OF THE ACTION
 4            1.    This is a shareholder derivative action brought on behalf of and for the benefit of
 5   the Company, against certain of its officers and/or directors named as defendants herein seeking to
 6   remedy Defendants (defined below) violations of their breaches of fiduciary duties and other
 7   wrongful conduct as alleged herein and that occurred from October 13, 2020 through the present
 8   (the “Relevant Period”). Defendants’ (defined below) actions have caused, and will continue to
 9   cause, substantial financial harm and other damages to the Company, including damages to its
10   reputation and goodwill.
11                                     JURSIDICTION AND VENUE
12            2.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
13   Plaintiff’s claims raise a federal question under Section 10(b) of the Exchange Act (15 U.S.C. §
14   78j(b)) and Section 21D of the Exchange Act (15 U.S.C. § 78u-4(f)). Plaintiff’s claims also raise
15   a federal question pertaining to the claims made in the Securities Class Action based on violations
16   of the Exchange Act.
17            3.    This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant
18   to 28 U.S.C. § 1367(a).
19            4.    This Court has jurisdiction over each defendant named herein. The Company is
20   incorporated in Nevada, and because the allegations contained herein are brought derivatively on
21   behalf of Marathon, Defendants’ conduct was purposefully directed at Nevada. Defendants have
22   sufficient minimum contacts with Nevada so as to render the exercise of jurisdiction by this Court
23   permissible under traditional notions of fair play and substantial justice.
24            5.    Venue is proper in this Court because the conduct at issue had an effect in this
25   State.
26   ///
27   ///
28   ///


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 1                                               PARTIES
 2   Plaintiff
 3          6.      Plaintiff Kimberely Bernard (“Plaintiff”) is a current owner of Marathon’s stock,
 4   purchasing some of her Marathon stock on December 29, 2020. Plaintiff has held the stock during
 5   the time of the continuous wrongful course of conduct alleged herein and continues to hold her
 6   Marathon stock. Plaintiff will fairly and adequately represent the interests of the stockholders in
 7   enforcing the rights of the Company.
 8   Nominal Defendant
 9          7.      Nominal Defendant Marathon is a Nevada corporation with principal executive
10   offices located at 1180 North Town Center Drive, Suite 100, Las Vegas, Nevada 89144. The
11   Company’s common stock trades in an efficient market on the Nasdaq Capital Market
12   (“NASDAQ”) under the trading symbol “MARA.”
13   Director Defendants
14          8.      Defendant Fred Thiel (“Thiel”) was, at all relevant times, Chief Executive Officer
15   and Chairman of the Board of Directors (“Board”).
16          9.      Defendant Georges Antoun (“Antoun”) was, at all relevant times, a Director of the
17   Company. Defendant Antoun is a member of the Audit Committee. Defendant Antoun is the
18   Chair of the Compensation Committee.
19          10.     Defendant Kevin DeNuccio (“DeNuccio”) was, at all relevant times, a Director of
20   the Company.
21          11.     Defendant Sarita James (“James”) was, at all relevant times, a Director of the
22   Company.
23          12.     Defendant Jay Leupp (“Leupp”) was, at all relevant times, a Director of the
24   Company. Defendant Leupp is the Chair of the Audit Committee. Defendant Leupp is a member
25   of the Compensation Committee.
26          13.     Defendant Said Ouissal (“Ouissal”) was, at all relevant times, a Director of the
27   Company. Defendant Ouissal is a member of the Audit Committee. Defendant Ouissal is a
28   member of the Compensation Committee.

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 1          14.     Defendant Merrick D. Okamoto (“Okamoto”) was, at all relevant times, the
 2   Company’s Executive Chairman and Director. On December 15, 2021, Marathon announced that
 3   Defendant Okamoto “plans to retire at the end of 2021” and that the Board “has appointed
 4   [Defendant] Thiel, Marathon’s current CEO, to succeed Okamoto on January 1, 2022, at which
 5   time, Thiel will maintain the responsibilities of both Chairman and CEO.”
 6          15.     Defendants Theil, Antoun, DeNuccio, James, Leupp and Ouissal are collectively
 7   referred to herein as the “Director Defendants.”
 8   Officer Defendant
 9          16.     Defendant Simeon Salzman (“Salzman”) has served as Marathon’s Chief Financial
10   Officer since October 19, 2020.
11          17.     The Director Defendants and Defendant Salzman are collectively referred to herein
12   as the “Individual Defendants.”
13                         THE COMPANY’S CORPORATE GOVERNANCE
14          18.     As members of the Company’s Board, the Director Defendants were held to the
15   highest standards of honesty and integrity and charged with overseeing the Company’s business
16   practices and policies and assuring the integrity of its financial and business records.
17          19.     The conduct of the Director Defendants complained of herein involves a knowing
18   and culpable violation of their obligations as directors and officers of the Company, the absence of
19   good faith on their part, and a reckless disregard for their duties to the Company and its investors
20   that the Director Defendants were aware posed a risk of serious injury to the Company.
21                                THE AUDIT COMMITTEE CHARTER
22          20.     The Company maintains an Audit Committee Charter.              The Audit Committee
23   Charter states in relevant part:
24          Responsibilities
25          In carrying out its responsibilities, the Committee believes its policies and
            procedures should remain flexible, in order to best react to changing conditions and
26          to ensure to the directors and shareholders that the corporate accounting and
27          reporting practices of the Corporation are in accordance with all requirements and
            are of the highest quality.
28

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           In carrying out these responsibilities, the Committee will:
 1
                 Serve as an independent and objective party to monitor the Corporation’s
 2                financial reporting process and internal control system and complaints or
                  concerns relating thereto.
 3
 4               To recommend, for shareholder approval, the independent auditor to
                  examine the Corporation’s accounts, controls, and financial statements.
 5                The Committee shall have the sole authority and responsibility to select,
                  evaluate and if necessary, replace the independent auditor. The Committee
 6                shall have the sole authority to approve all audit engagement fees and terms
                  and the Committee, or a member of the Committee, must pre-approve any
 7                non-audit service provided to the Corporation by the Corporation’s
                  independent auditor.
 8
                 Meet with the independent auditors and financial management of the
 9                Corporation to review the scope of the proposed audit for the current year
                  and the audit procedures to be utilized, and at the conclusion thereof
10                review such audit, including any comments or recommendations of the
                  independent auditors.
11
                 Obtain and review at least annually, a formal written report from the
12                independent auditor setting forth its internal quality-control procedures;
13                material issues raised in the prior five years by its internal quality-control
                  reviews and their resolution.
14
                 Ensuring the Committee’s receipt from the independent auditor of a formal
15                written statement delineating all relationships between the auditor and the
                  Corporation and actively engaging in a dialogue with the auditor with
16                respect to any disclosed relationships or services that may impact the
                  objectivity and independence of the auditor and for taking, or
17                recommending that the full board take, appropriate action to oversee the
                  independence of the auditor;
18
                 Ensure that the lead audit partner assigned by the independent auditor as
19                well as the audit partner responsible for reviewing the audit of the
                  Corporation’s financial statements shall be changed at least every five
20                years.
21               Review and appraise the audit efforts of independent auditors of the
                  Corporation and, where appropriate, recommend the replacement of the
22                independent accountants.
23
                 Consider and approve, if appropriate, major changes to the Corporation’s
24                accounting principles and practices as suggested by the independent
                  auditors or management.
25
                 Establish regular and separate systems of reporting to the Committee by
26                management and the independent auditors regarding any significant
                  judgments made in management's preparation of the financial statements
27                and the view of each as to appropriateness of such judgments and additional
                  items as required under the Sarbanes-Oxley Act including critical
28                accounting policies.

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                   Review with the independent auditors and financial accounting personnel,
 1                  the adequacy and effectiveness of the accounting and financial controls of
                    the Corporation and elicit any recommendations for the improvement of
 2                  such internal control procedures or particular areas where new or more
                    detailed controls or procedures are desirable. Particular emphasis should be
 3                  given to the adequacy of such internal controls to assess and manage
 4                  financial risk exposure and to expose any payments, transactions or
                    procedures that might be deemed illegal or otherwise improper.
 5
                   Review and approve the internal corporate audit staff functions, including
 6                  (i) purpose, authority, and organizational reporting lines; (ii) annual audit
                    plan, budget, and stalling; (iii) concurrence in the appointment,
 7                  compensation, and rotation of the internal audit management function; and
                    (iv) results of internal audits.
 8
                   Review the financial statements contained in the annual report and
 9                  quarterly report to shareholders with management and the independent
                    auditors to determine that the independent auditors are satisfied with the
10                  disclosure and content of the financial statements to be presented to the
                    shareholders. Any changes in accounting principles should be reviewed.
11
                   Prepare and publish an annual Committee report in the proxy statement of
12                  the Corporation.
13
                   Review with management of the Corporation any financial information,
14                  earnings press releases and earnings guidance filed with the Securities
                    and Exchange Commission or disseminated to the public, including any
15                  certification, report, opinion, or review rendered by the independent
                    auditors.
16
                   Provide sufficient opportunity for the independent auditors to meet with the
17                  members of the Committee without members of management present.
                    Among the items to be discussed in these meetings are the independent
18                  auditors' evaluation of the Corporation's financial, accounting and auditing
                    personnel, and the cooperation that the independent auditors received
19                  during the course of the audit.
20                 Establish procedures for receiving and treating complaints received by the
                    Corporation regarding accounting, internal accounting controls and auditing
21                  matters, and the confidential anonymous submission by employees of
                    concerns regarding questionable accounting or auditing matters.
22
23                 Submit the minutes of all meetings of the Committee to, or discuss the
                    matters discussed at each Committee meeting with, the board of directors.
24
                 Investigate any matter brought to its attention within the scope of its duties,
25                with the power to retain outside advisors for this purpose if in its judgment,
                  that is appropriate.
26   (Emphasis added).
27          21.     The purpose of the Audit Committee is to assist Marathon’s Board in its oversight
28   of accounting, financial reporting and disclosure processes and adequacy of systems of disclosure

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 1   and internal controls. The wrongful conduct of the Director Defendants complained of herein
 2   violates the Charter of the Audit Committee.
 3          22.     The Board of Marathon are also charged with developing and maintaining the
 4   Company’s corporate governance policies and any related matters required by the federal
 5   securities laws. The wrongful conduct of the Director Defendants complained of herein violates
 6   good corporate governance principles.
 7                           DUTIES OF THE DIRECTOR DEFENDANTS
 8          23.     By reason of their positions as officers and/or directors of the Company, and
 9   because of their ability to control the business and corporate affairs of the Company, the Director
10   Defendants owed the Company and its investors the fiduciary obligations of trust, loyalty, and
11   good faith. The obligations required the Director Defendants to use their utmost abilities to
12   control and manage the Company in an honest and lawful manner. The Director Defendants were
13   and are required to act in furtherance of the best interests of the Company and its investors.
14          24.     Each director of the Company owes to the Company and its investors the fiduciary
15   duty to exercise loyalty, good faith, and diligence in the administration of the affairs of the
16   Company and in the use and preservation of its property and assets. In addition, as officers and/or
17   directors of a publicly held company, the Director Defendants had a duty to promptly disseminate
18   accurate and truthful information regarding the Company’s operations, finances, and financial
19   condition, as well as present and future business prospects, so that the market price of the
20   Company’s stock would be based on truthful and accurate information.
21          25.     To discharge their duties, the officers and directors of the Company were required
22   to exercise reasonable and prudent supervision over the management, policies, practices, and
23   controls of the affairs of the Company. By virtue of such duties, the officers and directors of the
24   Company were required to, among other things:
25                  (a)     ensure that the Company complied with its legal obligations and
26                  requirements, including acting only within the scope of its legal authority and
27                  disseminating truthful and accurate statements to the SEC and the investing public;
28

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 1                  (b)      conduct the affairs of the Company in an efficient, businesslike manner so
 2                  as to make it possible to provide the highest quality performance of its business, to
 3                  avoid wasting the Company’s assets, and to maximize the value of the Company’s
 4                  stock;
 5                  (c)      properly and accurately guide investors and analysts as to the true financial
 6                  condition of the Company at any given time, including making accurate statements
 7                  about the Company’s business prospects, and ensuring that the Company
 8                  maintained an adequate system of financial controls such that the Company’s
 9                  financial reporting would be true and accurate at all times;
10                  (d)      remain informed as to how the Company conducted its operations, and,
11                  upon receipt of notice or information of imprudent or unsound conditions or
12                  practices, make reasonable inquiries in connection therewith, take steps to correct
13                  such conditions or practices, and make such disclosures as necessary to comply
14                  with federal and state securities laws;
15                  (e)      ensure that the Company was operated in a diligent, honest, and prudent
16                  manner in compliance with all applicable federal, state and local laws, and rules
17                  and regulations; and
18                  (f)      ensure that all decisions were the product of independent business judgment
19                  and not the result of outside influences or entrenchment motives.
20          26.     Each Director Defendant, by virtue of his or her position as a director and/or
21   officer, owed to the Company and to its shareholders the fiduciary duties of loyalty, good faith,
22   and the exercise of due care and diligence in the management and administration of the affairs of
23   the Company, as well as in the use and preservation of its property and assets. The conduct of the
24   Director Defendants complained of herein involves a knowing and culpable violation of their
25   obligations as directors and officers of the Company, the absence of good faith on their part, and a
26   reckless disregard for their duties to the Company and its shareholders that the Director
27   Defendants were aware, or should have been aware, posed a risk of serious injury to the Company.
28

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 1          27.     The Director Defendants breached their duties of loyalty and good faith by causing
 2   the Company to issue false and misleading statements concerning the business opportunities,
 3   results, and prospects of the Company. As a result, the Company has expended, and will continue
 4   to expend, significant sums of money related to investigations and lawsuits.
 5                                  SUBSTANTIVE ALLEGATIONS
 6   Background
 7          28.     Marathon is a digital asset technology company that mines cryptocurrencies with a
 8   focus on the blockchain ecosystem and the generation of digital assets in U.S. The Company was
 9   formerly known as “Marathon Patent Group, Inc.” and changed its name to “Marathon Digital
10   Holdings, Inc.” on March 1, 2021.
11          29.     In October 2020, the Company announced the formation of a new joint venture
12   with Beowulf Joint Venture (“Beowulf”)—a private, independent infrastructure holding company
13   that develops, builds, owns, and operates power generation and industrial infrastructure facilities
14   worldwide. The Beowulf was purportedly focused on delivering low-cost power to the Company’s
15   Bitcoin mining operations. In connection with that joint venture, the Company entered into a
16   series of agreements with multiple parties, including affiliates of Beowulf and Two Point One,
17   LLC (“2Pl”), a Delaware limited liability company, to design and build a data center in Hardin,
18   Montana, issuing 6 million shares of its common stock to the parties of those agreements.
19                   MATERIALLY FALSE AND MISLEADING STATEMENTS
20          30.     On October 13, 2020, Defendants caused the Company to issue a press release
21   announcing the formation of the Beowulf (the “October 2020 Press Release”). The October 2020
22   Press Release represented that the Beowulf was “focused on delivering low cost power to
23   Marathon’s Bitcoin mining operations[,]” while also asserting various purported benefits that
24   would flow to the Company in connection with that joint venture. Specifically, the October 2020
25   Press Release stated:
26          Marathon has entered into agreements with Beowulf to co-locate its Bitcoin Mining
            Data Center (the “Data Center”) at the Big Horn Data Hub, which comprises 20
27          acres of land adjacent to Beowulf’s Hardin Generating Station, a 105 MW power
            facility located in Hardin, Montana. Beowulf will provide power from the Hardin
28          plant to the Data Center at a production cost of $0.028/kWh. Beowulf will also

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             become an equity shareholder of Marathon as a result of the joint venture.
 1           Marathon will retain 100% of the Bitcoin mining output generated at the Data
             Center.
 2
             Marathon will deploy the 11,500 next generation S19 Pro Antminers (110 TH/s) it
 3           previously acquired through its partnership with Bitmain Inc. at the Data Center.
 4
             These miners will generate 1.265 EH/s when fully deployed, with full deployment
 5           anticipated through Q2 2021. Currently, 500 of the S19 Pro Antminers have been
             delivered and deployed at the Data Center. The Data Center has the capacity to
 6           deploy up to 30,000 S19 Pro Miners that will generate 3.320 EH/s, providing
             Marathon with substantial opportunity for future expansion.
 7
             The Data Center will lower Marathon’s aggregate mining cost for electricity and
 8           data center management to $0.034/kWh, which is 38% below the Company’s
             current cost of mining. This low-cost electricity reduces Marathon’s breakeven
 9           costs to produce Bitcoin from approximately $7,500 per Bitcoin today to $4,600
             per Bitcoin, dramatically improving the Company’s future profitability.
10
             31.     Additionally, the October 2020 Press Release quoted Defendant Okamoto, who
11
      stated that “[t]he closing of this joint venture with Beowulf represents the completion of a long
12
      journey to own a Bitcoin mining facility[,]” and that “[p]artnering with an experienced
13
      independent power producer enables us to maintain control and certainty of Marathon’s energy
14
      and operational costs, at rates that represent some of the lowest in North America.”
15
             32.     The October 2020 Press Release also quoted Nazar Khan, Executive Vice President
16
      of Beowulf, who stated that “[i]n pursuing the co-location of a Bitcoin mining operation at Hardin,
17
      we sought to capture the inherent value to the Data Center of securing a long-term supply of
18
      reliable, secure, and low-cost power while benefitting from the significant on-site technical
19
      expertise to ensure efficient operations[,] and that the location of the Data Center has a meaningful
20
      competitive advantage on energy pricing, moderate climate, and regulatory stability.”
21
             33.     Also, on October 13, 2020, Defendants caused the Company to file a current report
22
      on Form 8-K with the SEC, which provided additional details regarding the Beowulf (the
23
      “October 2020 8-K”):
24
             On October 6, 2020, Marathon . . . entered into a series of agreements with
25           affiliates of Beowulf . . . and [2Pl] . . . . Beowulf and 2Pl have been designing and
             developing a data center facility of up to 100-megawatts (the “Facility”) that will
26           be located next to, and supplied energy directly from, Beowulf’s power generating
27           station in Hardin, MT (the “Hardin Station”). The Facility is being developed in
             two phases to reach its 100 MW capacity, and the Hardin Station will supply the
28           Facility exclusively with energy to operate Bitcoin mining servers.


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             The projected build out cost for Phase I is approximately $14 million, which is
 1           front loaded as the infrastructure is being built most efficiently for the full 100 MW
             project. It entails high voltage equipment to break down the full 100 MW load from
 2           the generating station, and thereafter, the infrastructure cost per MW is a matter of
             distributing power at a container level. Assuming market conditions similar to
 3           current, the build out cost for Phase II works out to approximately $200,000 -
 4           $250,000 per MW. These are all in costs covering all equipment and labor needed
             starting from the power coming off the Generating Station distributed down to
 5           running the actual miners: including breakers, transformers, switches, containers,
             PDUs, fans, network cables, and the like.
 6
             Marathon and Beowulf entered into an exclusive Power Purchase Agreement for
 7           the initial supply of 30 MW (Phase I), and up to 100 MW in the aggregate (Phase
             II), of energy load to the Facility at a cost of $0.028/kWh. The initial term of the
 8           Power Purchase Agreement is five years, with up to five additional three-year
             extensions, as mutually agreed, assuming 75% energy utilization of the initial 30
 9           MW of energy supplied to the Facility. Marathon purchased certain mining
             infrastructure and equipment for the Facility from Beowulf for a purchase price of
10           $750,000, and Marathon has the right, at no additional cost, to construct and access
             the Facility on land adjacent to the Hardin Station pursuant to a lease agreement
11           with Beowulf.
12           34.        The October 2020 8-K also provided additional details regarding the Company’s
13    issuance of common stock in connection with completing, operating, and maintaining the Hardin
14    Facility, including that “Beowulf and 2P1 will provide operation and maintenance services for the
15    Facility pursuant to a Data Facility Services Agreement, in exchange for an initial issuance of
16    3,000,000 shares of Marathon’s common stock to each of Beowulf and 2Pl”; that “[u]pon
17    completion of Phase I, Marathon will issue to Beowulf an additional 150,000 shares of its
18    common stock”; that “[d]uring Phase II, Marathon will issue to Beowulf an additional 350,000
19    shares of its common stock – 150,000 shares upon reaching 60 MW of Facility load and 200,000
20    at completion of the full 100 MW of Facility load”; and that “[a]ll shares issued under the Data
21    Facility Services Agreement are issued pursuant to transactions exempt from registration under
22    Section 4(a)(2) of the Securities Act of 1933.”
23           35.        On November 12, 2020, Defendants caused the Company to issue a press release
24    announcing the Company’s 2020 fiscal third quarter financial results.           That press release
25    highlighted the Company’s “joint venture with Beowulf Energy for 105-Megawatt bitcoin mining
26    data center[.]”
27           36.        Also, on November 12, 2020, Defendants caused the Company to file a quarterly
28    report on Form 10-Q with the SEC, reporting the Company’s financial and operating results for

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 1    the quarter ended November 12, 2020 (the “3Q20 10-Q”). That filing contained substantively the
 2    same statements as referenced in ¶¶ 33-34, supra, regarding the Beowulf Joint Venture.
 3           37.     Appended as exhibits to the 3Q20 10-Q were signed certifications pursuant to the
 4    Sarbanes-Oxley Act of 2002 (“SOX”), wherein Defendants Okamoto and Salzman certified that
 5    “[t]he [3Q20 10-Q] fully complies with the requirements of section 13(a) or 15(d) of the
 6    [Exchange Act]” and that “[t]he information contained in the [3Q20 10-Q] fairly presents, in all
 7    material respects, the financial condition and results of operations of the Company.”
 8           38.     On November 13, 2020, Defendants caused the Company to file an amendment to
 9    the 3Q20 10-Q on Form 10-Q/A with the SEC (the “3Q20 10-Q/A). That filing contained
10    substantively the same statements as referenced in ¶¶ 33-34, supra, regarding Beowulf.
11           39.     Appended as exhibits to the 3Q20 10-Q/A were substantively the same SOX
12    certifications as referenced in ¶ 37, supra, signed by Defendants Okamoto and Salzman.
13           40.     On March 16, 2021, Defendants caused the Company to issue a press release
14    announcing the Company’s fourth quarter and fiscal year 2020 results (the “4Q/FY20 Press
15    Release”). That 4Q/FY20 Press Release highlighted the “[i]nitiated construction of [the] mining
16    facility adjacent to Beowulf’s energy plant in Hardin, MT, supplying Marathon long-term access
17    to electricity at 2.8¢/kWh[,]” and the “install[ation of] 3,697 S-19 ASIC miners at the mining
18    facility Hardin, MT, increasing Marathon’s current active mining fleet to 5,690 miners with an
19    additional 6,641 already delivered . . . and in the process of being installed[.]”
20           41.     Additionally, the 4Q/FY20 Press Release quoted Defendant Okamoto: “we
21    established our 105 MW mining facility in Hardin, MT, where we have consistent access to
22    electricity at rates far below market average, we presciently purchased more than 100,000 of the
23    industry’s top performing Bitcoin miners . . . and we enhanced our balance sheet[,]” and that
24    “[w]ith a solid foundation to grow the business established, we are now focused on continuing to
25    build out our mining facility and bring our miners . . . online.”
26           42.     Also, on March 16, 2021, Defendants caused the Company to file an annual report
27    on Form 10-K with the SEC, reporting the Company’s financial and operating results for the
28

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 1    quarter and year ended December 31, 2020 (the “2020 10-K”). That filing contained substantively
 2    the same statements as referenced in ¶¶ 33-34, supra, regarding the Beowulf Joint Venture.
 3            43.     Appended as an exhibit to the 2020 10-K were substantively the same SOX
 4    certifications as referenced in ¶ 37, supra, signed by Defendants Okamoto and Salzman.
 5            44.     On May 10, 2021, Defendants caused the Company to file a quarterly report on
 6    Form 10-Q with the SEC, reporting the Company’s financial and operating results for the quarter
 7    ended March 31, 2021 (the “1Q21 10-Q”).             That filing contained substantively the same
 8    statements as referenced in ¶¶ 33-34, supra, regarding the Beowulf Joint Venture.
 9            45.     Appended as exhibits to the 1Q21 10-Q were substantively the same SOX
10    certifications as referenced in ¶ 37, supra, signed by Defendants Thiel and Salzman.
11            46.     On May 12, 2021, Defendants caused the Company to file an amendment to the
12    1Q21 10-Q on Form 10-Q/A with the SEC (the “1Q21 10-Q/A).                     That filing contained
13    substantively the same statements as referenced in ¶¶ 33-34, supra, regarding Beowulf.
14            47.     Appended as exhibits to the 1Q21 10-Q/A were substantively the same SOX
15    certifications as referenced in ¶ 37, supra, signed by Defendants Thiel and Salzman.
16            48.     On August 13, 2021, Defendants caused the Company to file a quarterly report on
17    Form 10-Q with the SEC, reporting the Company’s financial and operating results for the quarter
18    ended June 30, 2021 (the “2Q21 10-Q”). That filing contained substantively the same statements
19    as referenced in ¶¶ 33-34, supra, regarding the Beowulf Joint Venture.
20            49.     Appended as exhibits to the 2Q21 10-Q were substantively the same SOX
21    certifications as referenced in ¶ 37, supra, signed by Defendants Thiel and Salzman.
22            50.     The statements referenced above were materially false and misleading because
23    Defendants caused the Company to make false and/or misleading statements, as well as fail to
24    disclose material adverse facts about the Company’s business, operations, and compliance
25    policies.     Specifically, Defendants caused the Company to make false and/or misleading
26    statements and/or fail to disclose that: (i) Beowulf, as it related to the Hardin Facility, implicated
27    potential regulatory violations, including U.S. securities law violations; (ii) as a result, Beowulf
28    subjected Marathon to a heightened risk of regulatory scrutiny; (iii) the foregoing was reasonably

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 1    likely to have a material negative impact on the Company’s business and commercial prospects;
 2    and (iv) as a result, the Company’s public statements were materially false and misleading at all
 3    relevant times.
 4                                          THE TRUTH EMERGES
 5           51.        On November 15, 2021, the Company filed a quarterly report on Form 10-Q with
 6    the SEC, reporting the Company’s financial and operating results for the quarter ended September
 7    30, 2021. In the “Legal Proceedings” section of that filing, the Company disclosed:
 8           On October 6, 2020, the Company entered into a series of agreements with multiple
             parties to design and build a data center for up to 100-megawatts in Hardin, MT. In
 9           conjunction therewith, the Company filed a Current Report on Form 8-K on
             October 13, 2020. The 8-K discloses that, pursuant to a Data Facility Services
10           Agreement, the Company issued 6,000,000 shares of restricted Common Stock, in
11           transactions exempt from registration under Section 4(a)(2) of the Securities Act of
             1933, as amended. During the quarter ended September 30, 2021, the Company
12           and certain of its executives received a subpoena to produce documents and
             communications concerning the Hardin, Montana data center facility described
13           in our Form 8-K dated October 13, 2020. We understand that the SEC may be
             investigating whether or not there may have been any violations of the federal
14           securities law. We are cooperating with the SEC. [Emphasis added].
15           52.        On this news, the Company’s stock price fell $20.52 per share, or 27.03%, to close
16    at $55.40 per share on November 15, 2021.
17                                     DAMAGES TO THE COMPANY
18           53.        The Company’s performance issues also damaged its reputation within the business
19    community and in the capital markets. The Company’s current and potential investors consider a
20    company’s trustworthiness and ability to accurately value its business prospects and evaluate sales
21    and growth potential. The Company’s ability to raise equity capital or debt on favorable terms in
22    the future is now impaired. In addition, the Company stands to incur higher marginal costs of
23    capital and debt because the improper statements and misleading projections disseminated by
24    Defendants have materially increased the perceived risks of investing in and lending money to the
25    Company.
26    ///
27    ///
28    ///

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 1                      DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
 2            54.     Plaintiff brings this action derivatively in the right and for the benefit of the
 3    Company to redress injuries suffered and to be suffered as a direct and proximate result of the
 4    breaches of fiduciary duties, waste of corporate assets, and unjust enrichment.
 5            55.     Plaintiff will adequately and fairly represent the interests of the Company in
 6    enforcing and prosecuting its rights and has retained counsel competent and experienced in
 7    derivative litigation.
 8            56.     Plaintiff is a current owner of the Company stock and has continuously been an
 9    owner of Company stock during all times relevant to the Director Defendants’ wrongful course of
10    conduct alleged herein.
11            57.     Plaintiff understands her obligation to hold stock throughout the duration of this
12    action and is prepared to do so.
13            58.     During the illegal and wrongful course of conduct at the Company and through the
14    present, the Board consisted of the Director Defendants.
15            59.     Because of the facts set forth throughout this Complaint, demand on the Company
16    Board to institute this action is not necessary because such a demand would have been a futile and
17    useless act.
18            60.     At the time Plaintiff filed this derivative action, the Company Board was comprised
19    of eight (6) members – Theil, Antoun, DeNuccio, James, Leupp and Ouissal. Thus, Plaintiff is
20    required to show that a majority of the Director Defendants, i.e., three (3), cannot exercise
21    independent objective judgment about whether to bring this action or whether to vigorously
22    prosecute this action.
23            61.     All of Director Defendants either knew or should have known of the false and
24    misleading statements that were issued on the Company’s behalf and took no steps in a good faith
25    effort to prevent or remedy that situation.
26            62.     The Director Defendants (or at the very least a majority of them) cannot exercise
27    independent objective judgment about whether to bring this action or whether to vigorously
28    prosecute this action. For the reasons that follow, and for reasons detailed elsewhere in this

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 1    Complaint, Plaintiff has not made (and should be excused from making) a pre-filing demand on
 2    the Board to initiate this action because making a demand would be a futile and useless act.
 3            63.     Each of the Director Defendants approved and/or permitted the wrongs alleged
 4    herein to have occurred and participated in efforts to conceal or disguise those wrongs from the
 5    Company’s stockholders or recklessly and/or with gross negligence disregarded the wrongs
 6    complained of herein and are therefore not disinterested parties.
 7            64.     Each of the Director Defendants authorized and/or permitted the false statements to
 8    be disseminated directly to the public and made available and distributed to shareholders,
 9    authorized and/or permitted the issuance of various false and misleading statements, and are
10    principal beneficiaries of the wrongdoing alleged herein, and thus, could not fairly and fully
11    prosecute such a suit even if they instituted it.
12            65.     Additionally, each of the Director Defendants received payments, benefits, stock
13    options, and other emoluments by virtue of their membership on the Board and their control of the
14    Company.
15    Defendant Theil
16            66.     Defendant Theil is not disinterested or independent, and therefore, is incapable of
17    considering demand because Defendant Theil is the Company’s CEO. As CEO of the Company,
18    Defendant Theil is an employee of the Company who derives substantially all of his income from
19    his employment with the Company, making him not independent.
20            67.     As such, Defendant Theil cannot independently consider any demand to sue
21    himself for breaching his fiduciary duties to the Company, because that would expose him to
22    liability and threaten his livelihood.
23            68.     In addition, Defendant Theil is a defendant in the Securities Class Action entitled
24    Schlatre v. Marathon Digital Holdings, Inc., et al., Case 2:21-cv-02209-RFB-NJK (D. Nevada)
25    (the “Securities Class Action”).
26            69.     As such, Defendant Theil cannot independently consider any demand to sue
27    himself for breaching his fiduciary duties to the Company, because that would expose him to
28    liability and threaten his livelihood.

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 1    Defendants Antoun and DeNuccio
 2           70.     Defendant DeNuccio served in senior executive positions with Verizon, Cisco
 3    Systems, Ericsson, Redback Networks, Wang Laboratories and Unisys Corporation.
 4           71.     Defendant Antoun joined Ericsson in 2007, when Ericsson acquired Redback
 5    Networks, a telecommunications equipment company, where Defendant Antoun served as the
 6    senior vice president of worldwide sales & operations. After the acquisition, Defendant Antoun
 7    was promoted to chief executive officer of the Redback Networks subsidiary. Prior to Redback
 8    Networks, Defendant Antoun spent five years at Cisco Systems, where he served as vice president
 9    of worldwide systems engineering and field marketing, vice president of worldwide optical
10    operations, and vice president of carrier sales.
11           72.     These two Directors have longstanding business and personal relationships with
12    each other that preclude them from acting independently and in the best interests of the Company
13    and the shareholders.
14    Defendants Leupp, Antoun and Ouissal
15           73.     Defendants Leupp (Chairman), Antoun (member) and Ouissal (member) are
16    members of the Audit Committee. Pursuant to the Company’s Audit Committee Charter, these
17    defendants were responsible for, inter alia, overseeing the accounting and financial reporting
18    processes of the Company and reviewing and taking steps to remedy any deficiencies with the
19    Company’s system of internal controls.         Defendants Leupp, Antoun and Ouissal failed to
20    adequately oversee the Company’s reporting processes, failed to identify or remedy deficiencies
21    with the Company’s internal controls, and failed to cause the Company to prevent the issuance of
22    false and misleading statements. Thus, Defendants Leupp, Antoun and Ouissal breached their
23    fiduciary duties, are not disinterested, and demand is excused as to them.
24                                                  COUNT I
25                   (Against The Director Defendants For Breach Of Fiduciary Duty)
26           74.     Plaintiff incorporates by reference and realleges each and every allegation
27    contained above, as though fully set forth herein.
28

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 1           75.     The Director Defendants owe the Company fiduciary obligations. By reason of
 2    their fiduciary relationships, the Director Defendants owed and owe the Company the highest
 3    obligation of good faith, fair dealing, loyalty, and due care.
 4           76.     The Director Defendants violated and breached their fiduciary duties of care,
 5    loyalty, reasonable inquiry, and good faith.
 6           77.     The Director Defendants engaged in a sustained and systematic failure to properly
 7    exercise their fiduciary duties. Among other things, the Director Defendants breached their
 8    fiduciary duties of loyalty and good faith by allowing the Company to make false and misleading
 9    statements about the Company’s business performance and failed to maintain an adequate system
10    of oversight, disclosure controls and procedures, and internal controls as alleged herein. These
11    actions could not have been a good faith exercise of prudent business judgment to protect and
12    promote the Company’s corporate interests.
13           78.     As a direct and proximate result of the Director Defendants’ failure to perform their
14    fiduciary obligations, the Company has sustained significant damages.           As a result of the
15    misconduct alleged herein, the Director Defendants are liable to the Company.
16           79.     As a direct and proximate result of the Director Defendants’ breach of their
17    fiduciary duties, the Company has suffered damage, not only monetarily, but also to its corporate
18    image and goodwill.
19                                                   COUNT II
20                  (Against The Director Defendants For Waste Of Corporate Assets)
21           80.     Plaintiff incorporates by reference and realleges each and every allegation
22    contained above, as though fully set forth herein.
23           81.     The wrongful conduct alleged regarding the issuance of false and misleading
24    statements and its failure to maintain an adequate system of oversight, disclosure controls and
25    procedures, and internal controls was continuous, connected, and on-going throughout the
26    Relevant Period. It resulted in continuous, connected, and ongoing harm to the Company.
27           82.     As a result of the misconduct described above, the Director Defendants wasted
28    corporate assets by, inter alia: (i) paying excessive compensation and bonuses to certain of its

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 1    executive officers; (ii) awarding self-interested stock options to certain officers and directors; and
 2    (iii) incurring potentially millions of dollars of legal liability and/or legal costs to defend
 3    Defendants’ unlawful actions.
 4           83.     As a result of the waste of corporate assets, the Director Defendants are liable to the
 5    Company.
 6           84.     Plaintiff, on behalf of the Company, has no adequate remedy at law.
 7                                                COUNT III
 8                              (Against Defendants For Unjust Enrichment)
 9           85.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth
10    above, as though fully set forth herein.
11           86.     By their wrongful acts and the omissions of material fact that they caused to be
12    made, Defendants were unjustly enriched at the expense of, and to the detriment of, the Company.
13           87.     Plaintiff, a shareholder and representative of the Company, seeks restitution from
14    Defendants and seek an order from this Court disgorging all profits, benefits, and other
15    compensation, including any performance-based or valuation based compensation, obtained by
16    Defendants due to their wrongful conduct and breach of their fiduciary duties.
17           88.     By their wrongful acts, violations of law, and false and misleading statements and
18    omissions of material fact that they made and/or caused to be made, Defendants were unjustly
19    enriched at the expense of, and to the detriment of, the Company.
20           89.     Plaintiff, on behalf of the Company, has no adequate remedy at law.
21                                            COUNT IV
                   (Against Defendants Okamoto, Thiel and Salzman for Contribution
22                         Under Sections 10(b) and 21D of the Exchange Act)
23
24           90.     Plaintiff incorporates by reference and realleges each and every allegation set forth
25    above, as though fully set forth herein.
26           91.     The Company and Defendants Okamoto, Thiel and Salzman are named as
27    defendants in the Securities Class Action, which asserts claims under the federal securities laws
28    for violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5 promulgated

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 1    thereunder. If and when the Company is found liable in the Securities Class Action for these
 2    violations of the federal securities laws, the Company’s liability will be in whole or in part due to
 3    Defendants Okamoto, Thiel and Salzman’s willful and/or reckless violations of their obligations as
 4    an officer of the Company.
 5           92.     As such, the Company is entitled to receive all appropriate contribution or
 6    indemnification from Defendants Okamoto, Thiel and Salzman.
 7                                           PRAYER FOR RELIEF
 8           WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 9           (A)     Declaring that Plaintiff may maintain this action on behalf of the Company and that
10    Plaintiff are adequate representatives of the Company;
11           (B)     Finding the Director Defendants liable for breaching their fiduciary duties owed to
12    the Company;
13           (C)     Directing Defendants to take all necessary actions to reform and improve the
14    Company’s corporate governance, risk management, and internal operating procedures to comply
15    with applicable laws and to protect the Company and its stockholders from a repeat of the rampant
16    wrongful conduct described herein;
17           (D)     Awarding Plaintiff the costs and disbursements of this action, including attorneys’,
18    accountants’, and experts’ fees; and
19           (E)     Awarding such other and further relief as is just and equitable.
20    ///
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 1                                      JURY TRIAL DEMANDED
 2          Plaintiff hereby demands a trial by jury of all issues so triable.
 3                                 DATED this 18th day of February 2022.
 4                                                 MATTHEW L. SHARP, LTD.
 5
                                                          /s/ Matthew L. Sharp
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